                                                                   Case 2:20-ap-01002-BB      Doc 1 Filed 01/08/20 Entered 01/08/20 14:55:52   Desc
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                                                                    1 David M. Goodrich, State Bar No. 208675
                                                                      dgoodrich@wgllp.com
                                                                    2 WEILAND GOLDEN GOODRICH LLP
                                                                      650 Town Center Drive, Suite 600
                                                                    3 Costa Mesa, California 92626
                                                                      Telephone 714-966-1000
                                                                    4 Facsimile   714-966-1002

                                                                    5 Attorneys for Chapter 7 Trustee
                                                                      Wesley H. Avery
                                                                    6

                                                                    7

                                                                    8                         UNITED STATES BANKRUPTCY COURT

                                                                    9                          CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                   LOS ANGELES DIVISION

                                                                   11 In re                                      Case No. 2:19-bk-16040-BB
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 ALFREDO F. TORRES,                         Chapter 7
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13               Debtor.                      Adv. No.

                                                                   14                                            COMPLAINT FOR:
                                                                      WESLEY H. AVERY, solely in his capacity
                              Tel 714-966-1000




                                                                   15 as Chapter 7 Trustee of the Estate of      (1) DECLARATORY RELIEF;
                                                                      Alfredo F. Torres,                         (2) QUIET TITLE;
                                                                   16                                            (3) IMPOSITION OF RESULTING TRUST
                                                                                    Plaintiff,                   (4) AUTHORIZATION TO SELL
                                                                   17                                                REAL PROPERTY IN WHICH CO-
                                                                             v.                                      OWNER HOLDS INTEREST
                                                                   18                                                PURSUANT TO 11 U.S.C. § 363(h);
                                                                      TERESA TORRES, trustee of the TORRES           AND
                                                                   19 VALLEJO FAMILY TRUST, RIGOBERTO            (5) TURNOVER OF PROPERTY OF THE
                                                                      F. TORRES, an individual, and NEVADA           ESTATE
                                                                   20 STREET TRUST DATED OCTOBER 12,
                                                                      2006, an unknown entity,
                                                                   21
                                                                                    Defendants.
                                                                   22

                                                                   23

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                                                                        1232180.1                                1                             COMPLAINT
                                                                    Case 2:20-ap-01002-BB        Doc 1 Filed 01/08/20 Entered 01/08/20 14:55:52             Desc
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                                                                    1 TO DEFENDANTS, AND THEIR COUNSEL, IF ANY:

                                                                    2           Wesley H. Avery, the duly appointed, qualified, and acting chapter 7 trustee

                                                                    3 (“Trustee” or “Plaintiff”) for the bankruptcy estate (“Estate”) of Alfredo F. Torres (“Debtor”),

                                                                    4 hereby files this Complaint for Declaratory Relief (“Complaint”) against the Teresa Torres,

                                                                    5 trustee of the Torres Vallejo Family Trust, Rigoberto F. Torres and Nevada Street Trust

                                                                    6 dated October 12, 2006, and respectfully alleges as follows:

                                                                    7                         STATEMENT OF JURISDICTION AND VENUE
                                                                    8           1.    The Bankruptcy Court has jurisdiction over this adversary proceeding

                                                                    9 pursuant to 28 U.S.C. §§ 157 and 1334 and 11 U.S.C. §§ 105. This is a core proceeding

                                                                   10 pursuant to 28 U.S.C. §§ 157(b)(2)(A), (N) and (O). Regardless of whether this is a core

                                                                   11 proceeding, consent is hereby given to the entry of final orders and judgment by the
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                                                Fax 714-966-1002




                                                                   12 Court. Defendant is hereby notified that Fed. R. Bankr. P. 7008 requires Defendant to
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                                  Costa Mesa, California 92626




                                                                   13 admit or deny whether this adversary proceeding is core or non-core and, if non-core, to

                                                                   14 plead whether consent is given to the entry of final orders and judgment by the Court.
                              Tel 714-966-1000




                                                                   15           2.    Venue properly lies in this judicial district in that the civil proceeding arises

                                                                   16 under title 11 of the United States Code (the “Bankruptcy Code”) as provided in 28 U.S.C.

                                                                   17 § 1409.

                                                                   18           3.    This adversary proceeding arises out of and relates to the case entitled In re

                                                                   19 Alfredo F. Torres, a chapter 7 case bearing case number 2:19-bk-16040 BB, currently

                                                                   20 pending in the United States Bankruptcy Court, Central District of California, Los Angeles

                                                                   21 Division, the Honorable Sheri Bluebond presiding. Accordingly, venue in this Court is

                                                                   22 proper under 28 U.S.C. § 1409(a).

                                                                   23                                              PARTIES
                                                                   24           4.    Plaintiff is the duly appointed and acting chapter 7 trustee of the Debtor's

                                                                   25 bankruptcy estate and is the real party-in-interest in this proceeding.

                                                                   26           5.    Plaintiff is informed and believes and based thereon alleges that defendant

                                                                   27 Teresa Torres, is the trustee of the Torres Vallejo Family Trust ("TVFT"), and is sued in

                                                                   28 her capacity as trustee and not individually, is a resident of Los Angeles County.
                                                                        1232180.1                                      2                                      COMPLAINT
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                                                                    1           6.    Plaintiff is informed and believes and based thereon alleges that defendant

                                                                    2 Rigoberto F. Torres ("Rigoberto") is an individual who resides in Los Angeles County.

                                                                    3           7.    Plaintiff is informed and believes and based thereon alleges that defendant

                                                                    4 Nevada Street Trust dated October 12, 2006 ("NST") is an unknown entity and a

                                                                    5 purported trust.

                                                                    6                                   GENERAL ALLEGATIONS
                                                                    7           8.    Plaintiff incorporates each and every allegation contained in paragraphs 1

                                                                    8 through 7 as though fully set forth herein.

                                                                    9           9.    Plaintiff is informed and believes and based thereon alleges that on May 23,

                                                                   10 2019 ("Petition Date"), the Debtor filed a voluntary petition under chapter 7 of the

                                                                   11 Bankruptcy Code.
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                                                                   12           10.   Plaintiff is informed and believes and based thereon alleges that the Plaintiff
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 was appointed as the chapter 7 trustee on May 23, 2019.

                                                                   14           11.   Plaintiff is informed and believes and based thereon alleges that prior to the
                              Tel 714-966-1000




                                                                   15 Petition Date, Vicente Torres ("Vicente"), Rigoberto and the Debtor acquired title to

                                                                   16 commercial real property commonly known as 115 Nevada St., El Segundo, CA 90245

                                                                   17 and assigned APN 4139-004-046, 4139-004-047 and 4139-004-048 ("Property").

                                                                   18           12.   Plaintiff is informed and believes and based thereon alleges that Vicente,

                                                                   19 Rigoberto and the Debtor each contributed $200,000 in cash or other consideration as

                                                                   20 part of the purchase price for the purchase of the Property.

                                                                   21           13.   Plaintiff is informed and believes and based thereon alleges that Vicente,

                                                                   22 Rigoberto and the Debtor claim to have assigned their rights to NST.

                                                                   23           14.   Plaintiff is informed and believes and based thereon alleges that Vicente,

                                                                   24 Rigoberto and/or the Debtor claim to be the trustees and beneficiaries of NST.

                                                                   25           15.   Plaintiff is informed and believes and based thereon alleges that NST was

                                                                   26 never formed as a valid trust and no trust documents exist evidencing a valid trust.

                                                                   27

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                                                                        1232180.1                                     3                                   COMPLAINT
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                                                                    1           16.     Plaintiff is informed and believes and based thereon alleges that Vicente

                                                                    2 was deceased on the Petition Date and the TVFT is the holder of all of Vicente's rights,

                                                                    3 including any right to the Property and NST.

                                                                    4           17.     Plaintiff is informed and believes and based thereon alleges that TVFT,

                                                                    5 Rigoberto and the Estate, as real party-in-interest to all claims and assets of the Debtor

                                                                    6 existing on the Petition Date, are the rightful owners of the Property and NST has no

                                                                    7 interest in the Property.

                                                                    8           18.     Plaintiff is informed and believes and based thereon alleges that the

                                                                    9 Debtor's interest in the Property is property of the Estate.

                                                                   10           19.     Plaintiff is informed and believes and based thereon alleges that one or

                                                                   11 more of the defendants allege NST is a valid and existing trust and the rightful owners of
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                                                                   12 the Property.
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                                                                   13                                     FIRST CLAIM FOR RELIEF
                                                                   14                                       (For Declaratory Relief)
                              Tel 714-966-1000




                                                                   15           20.     Plaintiff repeats and realleges the allegations in paragraphs 1 through 19

                                                                   16 above, as though fully set forth herein.

                                                                   17           21.     An actual controversy exists between Plaintiff and one or more of the

                                                                   18 defendants regarding the validity of NST.

                                                                   19           22.     Plaintiff contends the NST was never formed and, if it was, it is not a valid or

                                                                   20 existing trust.

                                                                   21           23.     Plaintiff further contends NST has no ownership interest in the Property

                                                                   22 because NST is not a valid or existing trust.

                                                                   23           24.     Plaintiff further contends TVFT, Rigoberto and the Debtor are the rightful

                                                                   24 owners of the Property.

                                                                   25           25.     Plaintiff is informed and believes and based thereon alleges that one or

                                                                   26 more defendants dispute the Trustee's contentions in Paragraphs 20 and 24 of this

                                                                   27 Complaint.

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                                                                        1232180.1                                       4                                    COMPLAINT
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                                                                    1           26.   Plaintiff seeks a determination that (1) NST is not a valid or existing trust and

                                                                    2 the Property is owned by TVFT, Rigoberto and the Debtor, and (2) NST has no ownership

                                                                    3 interest in the Property because NST is not a valid or existing trust.

                                                                    4           27.   A judicial determination of the rights of the Plaintiff, TVFT, Rigoberto and the

                                                                    5 Debtor is necessary and appropriate at this time under the circumstances.

                                                                    6                                  SECOND CLAIM FOR RELIEF
                                                                    7                                         (To Quiet Title)
                                                                    8           28.   Plaintiff repeats and realleges the allegations in paragraphs 1 through 27

                                                                    9 above, as though fully set forth herein.

                                                                   10           29.   Plaintiff is informed and believes and based thereon alleges that at all times

                                                                   11 herein mentioned, Vicente, and TVFT as his successor, Rigoberto and the Debtor are the
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                                                Fax 714-966-1002




                                                                   12 rightful owners of the Property.
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                                  Costa Mesa, California 92626




                                                                   13           30.   Plaintiff is informed and believes and based thereon alleges that NST claims

                                                                   14 an interest in the Property adverse to TVFT, Rigoberto and the Debtor. The claim of NST,
                              Tel 714-966-1000




                                                                   15 however, is without any right whatsoever, and NST has no legal or equitable right, claim

                                                                   16 or interest in the Property.

                                                                   17           31.   Plaintiff seeks a declaration that title to the Property is vested in the names

                                                                   18 of TVFT, Rigoberto, and the Debtor, and that NST be declared to have no estate, right,

                                                                   19 title or interest in the subject property and that NST be forever enjoined from asserting any

                                                                   20 estate, right, title or interest in the Property adverse to TVFT, Rigoberto, and the Debtor.

                                                                   21                                    THIRD CLAIM FOR RELIEF
                                                                   22                                (For Imposition of Resulting Trust)
                                                                   23           32.   The Plaintiff incorporates each and every allegation contained in paragraphs

                                                                   24 1 through 31, inclusive, as though fully set forth herein.

                                                                   25           33.   The Plaintiff is informed, believes, and alleges that at the time the Property

                                                                   26 was purchased, Vicente, Rigoberto, and the Debtor agreed that NST would hold bare

                                                                   27 legal title to the Property for the benefit of Vicente, Rigoberto, and the Debtor would retain

                                                                   28 their beneficial interest in the Property.
                                                                        1232180.1                                     5                                    COMPLAINT
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                                                                    1           34.     The Plaintiff is informed, believes, and alleges that NST holds its interest in

                                                                    2 the Property in trust for the benefit of TVFT, Rigoberto, and the Debtor.

                                                                    3           35.     The Plaintiff is informed, believes, and alleges that NST delivered no

                                                                    4 consideration to Vicente, Rigoberto and the Debtor for the interest held by NST in the

                                                                    5 Property.

                                                                    6           36.     The Plaintiff is informed, believes, and alleges that TVFT, Rigoberto and the

                                                                    7 Debtor continue to exercise control over the Property, operate a business on the Property,

                                                                    8 and hold themselves out as the owners of the Property.

                                                                    9           37.     The Plaintiff is informed, believes, and alleges that TVFT, Rigoberto and/or

                                                                   10 the Debtor directly or through their businesses continuously paid the mortgage, taxes and

                                                                   11 maintenance expenses for the Property since it was purchased.
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                                                                   12           38.     In bringing this proceeding, the Plaintiff demands NST reconvey the interest
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                                  Costa Mesa, California 92626




                                                                   13 in the Property it received from the Debtor to the Debtor.

                                                                   14           39.     The Plaintiff is informed, believes, and alleges that at no point prior to the
                              Tel 714-966-1000




                                                                   15 initiation of this proceeding did the Debtor demand NST reconvey the interest in the

                                                                   16 Property it received from the Debtor back to the Debtor.

                                                                   17           40.     By reason of the foregoing, the Plaintiff is entitled to the imposition of a

                                                                   18 resulting trust on the Property and an order declaring title in the Property to be in the

                                                                   19 name NST as 2/3rd owner and the Debtor as 1/3rd owner or, alternatively, TVFT,

                                                                   20 Rigoberto and the Debtor, each as 1/3rd owner.

                                                                   21                                    FOURTH CLAIM FOR RELIEF
                                                                   22                 (For Authorization to Sell the Estate's Interest and the Interest of
                                                                   23                   Non-Debtors in the Property Pursuant to 11 U.S.C. §363(h))
                                                                   24           41.     Plaintiff realleges and incorporates by reference each and every allegation

                                                                   25 contained in paragraphs 1 through 40 as though set forth in full herein.

                                                                   26           42.     Plaintiff is informed and believes and based thereon alleges that partition in

                                                                   27 kind of the Property among the Estate, NST, TVFT and/or Rigoberto is impracticable.

                                                                   28
                                                                        1232180.1                                        6                                    COMPLAINT
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                                                                    1           43.    Plaintiff is informed and believes and based thereon alleges that the sale of

                                                                    2 the Estate's undivided interest in the Property would realize significantly less for the Estate

                                                                    3 than the sale of the Property free of the interests of NST, TVFT and/or Rigoberto.

                                                                    4           44.    Plaintiff is informed and believes and based thereon alleges that the benefit

                                                                    5 to the Estate of a sale of the Property free of the interests of NST, TVFT and/or Rigoberto

                                                                    6 outweighs the detriment, if any, to NST, TVFT and/or Rigoberto.

                                                                    7           45.    Plaintiff is informed and believes and based thereon alleges that the

                                                                    8 Property is not used in the production, transmission, or distribution, for sale, of electric

                                                                    9 energy or of natural or synthetic gas for heat, light, or power.

                                                                   10           46.    For the aforementioned reasons, Plaintiff may sell both the Estate's interest,

                                                                   11 under 11 U.S.C. § 363(b), and the interests of NST, TVFT and/or Rigoberto in the
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                                                                   12 Property pursuant to 11 U.S.C. § 363(h).
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                                                                   13                                   FIFTH CLAIM FOR RELIEF
                                                                   14                 (For Turnover of Estate Property Pursuant to 11 U.S.C. § 542)
                              Tel 714-966-1000




                                                                   15           47.    Plaintiff realleges and incorporates by reference each and every allegation

                                                                   16 contained in paragraphs 1 through 46 as though set forth in full herein.

                                                                   17           47.    Plaintiff is informed and believes and based thereon alleges that the

                                                                   18 Property is, or will be, property of the Estate that the Plaintiff has standing to administer

                                                                   19 for the benefit of the Estate. The Plaintiff is not presently in possession of the Property.

                                                                   20           48.    Plaintiff is informed and believes and based thereon alleges that the

                                                                   21 Property is in the possession of NST, TVFT, Rigoberto or the Debtor.

                                                                   22           49.    Pursuant to 11 U.S.C. § 542(a), the Trustee seeks an order compelling the

                                                                   23 turnover of the Property from NST, TVFT, Rigoberto or the Debtor and/or any other party

                                                                   24 in possession of the Property so that he can administer the Property for the benefit of the

                                                                   25 Debtor's creditors.

                                                                   26           WHEREFORE, Plaintiff prays that this Court enter a judgment against NST, TVFT,
                                                                   27 Rigoberto and the Debtor, as applicable, as follows:

                                                                   28
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                                                                    1                                  On the First Cause of Action
                                                                    2           For a judgment declaring and stating: (1) NST is not a valid or existing trust and the

                                                                    3 Property is owned by TVFT, Rigoberto and the Debtor, and (2) NST has no ownership

                                                                    4 interest in the Property because NST is not a valid or existing trust.

                                                                    5                                On the Second Cause of Action
                                                                    6           For a judgment (1) compelling NST to transfer legal title of the Property to TVFT,

                                                                    7 Rigoberto and the Debtor, (2) declaring and determining TVFT, Rigoberto, and the Debtor

                                                                    8 are the rightful owners of the Property and that NST has no estate, right, title or interest in

                                                                    9 the Property, and (3) forever enjoining NST from claiming any estate, right, title or interest

                                                                   10 in the Property.

                                                                   11                                  On the Third Cause of Action
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                                                                   12           For judgment imposing a resulting trust on the Property and an order declaring title
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                                  Costa Mesa, California 92626




                                                                   13 in the Property to be in the name of NST as 2/3rd owner and the Debtor as 1/3rd owner

                                                                   14 or, alternatively, in the name of TVFT, Rigoberto and the Debtor, each as 1/3rd owner.
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                                                                   15                                 On the Fourth Cause of Action
                                                                   16           For judgment that Plaintiff may sell both the Estate’s interest, pursuant to 11 U.S.C.

                                                                   17 § 363(b), and the interest of NST, pursuant to 11 U.S.C. § 363(h), in the Property.

                                                                   18                                  On the Fifth Cause of Action
                                                                   19           For judgment that the Property be turned over to the Plaintiff pursuant to 11 U.S.C.

                                                                   20 § 542 at a time and place designated by the Plaintiff so that the Plaintiff can administer the

                                                                   21 Property for the benefit of the Estate.

                                                                   22                                     On All Claims for Relief
                                                                   23           For (1) judgment awarding pre-judgment and post-judgment interest at the

                                                                   24 maximum legal rate, and (2) such other and further relief as this Court deems just and

                                                                   25 proper.

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                                                                   1 Dated: January 8, 2020                  WEILAND GOLDEN GOODRICH LLP

                                                                   2

                                                                   3                                         By: /s/ David M. Goodrich
                                                                                                                 David M. Goodrich
                                                                   4                                             Attorneys for Chapter 7 Trustee
                                                                                                                 and Plaintiff, Wesley H. Avery
                                                                   5

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                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




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                                                                        1232180.1                            9                                COMPLAINT
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
     WESLEY H. AVERY, CHAPTER 7 TRUSTEE                                          TERESA TORRES, trustee of the TORRES VALLEJO FAMILY
                                                                                 TRUST, RIGOBERTO F. TORRES, an individual, and NEVADA
                                                                                 STREET TRUST DATED OCTOBER 12, 2006, an unknown entity

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
     WEILAND GOLDEN GOODRICH LLP
     650 Town Center Drive, Suite 600, Costa Mesa, CA 92626
     (714) 966-1000

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
          Trustee/Bankruptcy Admin        Debtor      U.S. Trustee/Bankruptcy Admin
                                      Creditor    Other

x                                             Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
(1) DECLARATORY RELIEF; (2) QUIET TITLE; (3) IMPOSITION OF RESULTING TRUST; (4) AUTHORIZATION TO SELL REAL PROPERTY
IN WHICH CO-OWNER HOLDS INTEREST PURSUANT TO 11 U.S.C. SECTION 363(h); AND (5) TURNOVER OF PROPERTY OF THE ESTATE




                                                                    NATURE OF SUIT

         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

     FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)
 11-Recovery of money/property - §542 turnover of property                       61-Dischargeability - §523(a)(5), domestic support
 12-Recovery of money/property - §547 preference                                 68-Dischargeability - §523(a)(6), willful and malicious injury
 13-Recovery of money/property - §548 fraudulent transfer                        63-Dischargeability - §523(a)(8), student loan
 14-Recovery of money/property - other
 3                                                                                64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
     FRBP 7001(2) – Validity, Priority or Extent of Lien
 21-Validity, priority or extent of lien or other interest in property           65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief


   FRBP 7001(3) – Approval of Sale of Property                                    71-Injunctive relief – imposition of stay
 2 31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                  72-Injunctive relief – other

     FRBP 7001(4) – Objection/Revocation of Discharge
 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                 81-Subordination of claim or interest
     FRBP 7001(5) – Revocation of Confirmation
 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                 91-Declaratory judgment
                                                                                 1

     FRBP 7001(6) – Dischargeability
 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              
 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny  SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                     02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
Check if this case involves a substantive issue of state law                  Check if this is asserted to be a class action under FRCP 23
  trial is demanded in complaint                                Demand $
Other Relief Sought
       Case 2:20-ap-01002-BB               Doc 1 Filed 01/08/20 Entered 01/08/20 14:55:52                              Desc
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
ALFREDO F. TORRES                                                      2:19-bk-16040-BB

DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                    NAME OF JUDGE
CENTRAL                                                                 LOS ANGELES                      SHERI BLUEBOND

                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


 /s/ David M. Goodrich

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
 January 7, 2020                                                        DAVID M. GOODRICH



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
